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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

KELSEY MORTON,

               Plaintiff,
v.                                                  CASE NO.: 8:13-cv-02341-SDM-TGW

JPMORGAN CHASE
BANK, N.A.,

       Defendant.

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     NOTICE OF SETTLEMENT AND VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff, Kelsey Morton, by and through undersigned counsel, and pursuant to Federal

Rule of Civil Procedure 41(a)(1)(A), hereby files this Notice of Settlement and Voluntary

Dismissal With Prejudice. By submission of this Notice, submitting counsel represents that this

matter has settled and Plaintiff is voluntarily dismissing the action with prejudice.

Dated: December 19, 2013                      Respectfully Submitted,

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                                              1710 N. 19th Street, Suite 205
                                              Tampa, Florida 33605
                                              Phone: (813) 360-1529
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                                              /s/ Gus M. Centrone

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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on December 19, 2013, I presented a true and correct copy of

the foregoing to the Clerk of the United States District Court for the Middle District of Florida,

Tampa Division, for filing and uploading to the CM/ECF system.




                                             _/s/ Gus M. Centrone_________________
                                             GUS M. CENTRONE, ESQ.
